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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA
__________________________________________
                                           )
UNITED STATES OF AMERICA                   )
                                           )
     V.                                    ) CASE NO: 1:21-CR-00382-PLF
                                           )
CHRISTOPHER WARNAGIRIS,                    ) HEARING: JAN. 15, 2025
                                           )
         DEFENDANT.                        )
__________________________________________)

       DEFENDANT’S RESPONSE TO ORDER OF THE COURT
———————————————————————————————————————


       Pursuant to this Court’s Order dated November 22, 2024, ECF No. 163, Defendant

hereby responds as follows:

          • The Defense is not aware of any additional cases not listed in the Government’s

            response, ECF No. 164.

          • While the Government is correct that undersigned counsel brought this issue to the

            attention of Judge Nichols, the timing of the request and development of the

            argument in front of Judge Nichols in United States v. DaSilva was procedurally

            different — where it came in the form of post-verdict motions and did not affect the

            legal instructions given in that case. In Mr. Warnagiris’s case, this argument is being

            made pre-verdict and in the form of a request for legal instructions.

          • As argued in ECF No. 143, in United States v. Carnell, Crim. Case No. 23-139, ECF

            No. 98 at *13-19, 24-31 (D.D.C. Feb. 15, 2024), Judge Howell discussed separating

            out the substantive elements of the offense from jurisdictional ones. The Defense is



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    simply bringing that reasoning to its logical extension for purposes of seeking proper

    bench instructions.

  • Although Judge Nichols indicated he would have denied the Defense motion in

    United States v. DaSilva even if brought pre-verdict, he also had issued an opinion in

    direct contrast to that of Judge Howell in United States v. Carnell. See United States

    v. Elizalde, 23-cr-170-CJN (D.D.C. Dec. 1, 2023). Judge Nichols’ decisions in

    DaSilva and Elizalde simply indicate that he is consistent on not separating the

    jurisdictional elements from substantive ones.

  • This Court ruled in agreement with Judge Howell’s decision in Carnell.

    Accordingly, it would be consistent for this court to consider the separation of

    substantive elements of the offense from jurisdictional ones in assessing the Defense

    motions, consistent with the reasoning provided by the Defense in ECF No. 143 and

    144.

  • Based on information available to the defense, it is our understanding that no judge

    in D.D.C. has yet ruled on a Rule 31(c) motion similar to the one filed in this case.




                                     Respectfully submitted,

                                     By Counsel:

                                            /s/
                                     Marina Medvin, Esq.
                                     Counsel for Defendant
                                     MEDVIN LAW PLC
                                     277 S Washington St | Ste 210


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                        CERTIFICATE OF SERVICE FOR CM/ECF

        I hereby certify that on December 16, 2024, I will electronically file the foregoing with
the Clerk of the Court for the United States District Court for the District of Columbia by using
the CM/ECF system. I certify that all participants in the case are registered CM/ECF users, and
that service will be accomplished by the CM/ECF system.

                                                   /s/
                                             Marina Medvin, Esq.




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